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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

STATE FARM FIRE AND CASUALTY,                                                          PLAINTIFF
as Subrogee of Michael Crockett and Holly Crockett

v.                                    No. 4:16CV00387 JLH

OMEGA FLEX, INC.                                                                    DEFENDANT

                                              ORDER

       Pursuant to the stipulation of the parties, this action is dismissed with prejudice as to all

claims by the plaintiff and all claims by the defendant that were or could have been asserted, with

all costs to be borne by the party incurring those costs.

       IT IS SO ORDERED this 23rd day of March, 2018.



                                                      ________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
